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                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA
                                         AT JUNEAU
ROSA BEJAR and CARMELO
D'AMICO,

                                    Plaintiffs,



SAFEWAY, INC. a Delaware corporation
registered to and doing business in Alaska, CASE NO.:



                                  NOTICE OF REMOVAL

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
    FOR THE DISTRICT OF ALASKA

         Petitioner Safeway, Inc., by the undersigned attorneys, respectfully shows this

Court:

         1.      The removing party is the defendant in the above-entitled action.

         2.      On or about November 25, 2008, the above-entitled action was filed in the

Superior Court for the State of Alaska, First Judicial District at Juneau, and is now

pending therein.



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        3.      On December 1, 2008, the removing party was served with the Summons

and Complaint in the above-entitled action via mail delivered to Safeway, Inc.'s

registered agent, Corporation Service Company, at 9360 Glacier Highway, Suite 202,

Juneau, Alaska. Defendant has entered an Entry of Appearance in the state court action.

Copies of all the Pleadings filed in and any Orders entered in the State Court are listed on

-theattached Index in chronological order and are attached hereto as Exhibits 1 through 4.

        4.      The above-entitled action is a suit for personal injury. Plaintiff seeks

damages for past and future: medical expenses, pain, suffering, mental anguish, loss of

enjoyment of life, physical impairment and inconvenience. Plaintiff, also, seeks relief for

prejudgment interest, costs and attorney's fees. Plaintiff initially seeks darnages in an

amount in of $300,000 in special and general damages plus an award of prejudgment

interest, costs and attorney fees.

        5.      Plaintiffs allege they are residents of Alaska. Safeway, Inc. is a corporation

incorporated in Delaware, and qualified as a foreign corporation doing business in Alaska

and having its principal place of business in Pleasanton, California.

        6.      The Court has original jurisdiction of the above-entitled action pursuant to

28 U.S.C. 9 1332, and the action may therefore be removed to this Court pursuant to 28

U.S.C. fj1441(a), in that this is a civil action between citizens of different States,

defendant is not a citizen of the State of Alaska, and the amount in controversy exceeds



       7.       This notice is being filed with Court within 30 days after service and notice

of the Summons and Complaint.
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        8.      Written notice of the filing of this Notice will be given to adverse parties,

and filed with the Clerk of the Superior Court for the State of Alaska, First Judicial

District at Juneau, as required by law

        WHEREFORE, petitioner, Safeway, Inc., prays that the above action now pending

in the Superior Court for the State of Alaska, First Judicial District at Juneau be removed

to the United States District Court for the District of Alaska at Juneau, Alaska.

                                                            IV & BLASCO, P.C.

Dated: I$/@

                                  Of Attorneys for Safeway, Inc.


                Certificate of Service
The undersigned certifies that on the 2.2&-  day of
December 2008 a true and correct copy of the
foregoing Notice of Removal was served on the
following attorney of record via ECF and First Class
Mail addressed as follows:

       Benjamin Brown, Esq.
       Baxter Bruce & Sullivan
       PO Box 328 19
       Juneau, AK 99803




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                       Beiar, et al. v. Safeway, Inc.

                        Index of Removal Pleadings


1.      Summons and Notice to Both Parties of Judicial Assignment

2.      Complaint

3.      Entry of Appearance (by Defendant)

4.      Notice of Filing Notice for Removal




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